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                           EXHIBIT A
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                                                                                                           October 10, 2023

Official Committee of Talc Claimants
In re LTL Management, No 23-12825
United States Bankruptcy Court for the District of New Jersey
                                                                                Invoice Period: 09-01-2023 - 09-30-2023

RE: LTL Management Bankruptcy Official TCC II



Time Details
Date         Professional       Task                                                          Hours        Rate       Amount
09-01-2023   JSM                L520 - Appellate Briefs                                           0.40 1,160.00         464.00
             Email communication with TCC counsel re CA3 appeal schedule and procedure.
09-01-2023   JSM                L520 - Appellate Briefs                                           0.20 1,160.00         232.00
             Reviewing draft certification for direct appeal to CA3.
09-01-2023   RA                 B160 - Fee/Employment Application                                 2.30     320.00       736.00
             Draft Final Fee Application and exhibits.
09-05-2023   RA                 B160 - Fee/Employment Application                                 2.10     320.00       672.00
             Revise Final Fee Application and exhibits.
09-05-2023   UI                 L520 - Appellate Briefs                                           3.40     485.00    1,649.00
             Research re appellate standard of review of Judge Kaplan's ruling on financial distress.
09-05-2023   UI                 L520 - Appellate Briefs                                           0.30     485.00       145.50
             Discussion with J. Massey re legal strategy of appealing to the U.S. Court of Appeals for the Third Circuit.
09-05-2023   LG                 B160 - Fee/Employment Application                                 0.50      90.00         45.00
             Review Final Fee Application cover sheet.
09-05-2023   RSM                B160 - Fee/Employment Application                                 0.20     860.00       172.00
             Correspondence with colleagues re final fee application work.
09-06-2023   UI                 L520 - Appellate Briefs                                           1.40     485.00       679.00
             Research re appellate decisions reversing trial court's finding regarding financial distress.
09-06-2023   UI                 L520 - Appellate Briefs                                           0.70     485.00       339.50
             Meeting with committee and co-counsel to discuss forthcoming legal strategy re possible Third Circuit appeal.
09-06-2023   BV                 L520 - Appellate Briefs                                           0.60     775.00       465.00
             Meeting with committee members re appeal status and strategy.
09-06-2023   UI                 L520 - Appellate Briefs                                           0.90     485.00       436.50
             Researching caselaw re bases for reversal pertaining to exceptions to dismissal under 1112(b)(2).
09-06-2023   RSM                L520 - Appellate Briefs                                           0.60     860.00       516.00
             Conference with committee representatives and co-counsel re next steps and strategies for appeal.
09-06-2023   RSM                B160 - Fee/Employment Application                                 2.80     860.00    2,408.00
             Worked on final fee application.
09-06-2023   UI                 L520 - Appellate Briefs                                           0.80     485.00       388.00
             Research re appellate standard of review of Judge Kaplan's ruling on financial distress.
09-06-2023   JSM                L520 - Appellate Briefs                                           0.40 1,160.00         464.00
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   Case 23-12825-MBK            Doc 1526-2 Filed 10/19/23 Entered 10/19/23 12:08:37                              Desc
Date         Professional      Task     Exhibit A Page 3 of 8         Hours    Rate                                Amount
             Reviewing timetable and procedural appellate steps for discussion for TCC members and representatives.
09-06-2023   JSM                 L520 - Appellate Briefs                                       0.60 1,160.00         696.00
             Zoom with TCC members and representatives to discuss appeal.
09-06-2023   RA                  B160 - Fee/Employment Application                             0.80     320.00       256.00
             Revise Final Fee Application and exhibits.
09-07-2023   RA                  B160 - Fee/Employment Application                             1.10     320.00       352.00
             Revise Final Fee Application and exhibits.
09-07-2023   JSM                 B160 - Fee/Employment Application                             1.20 1,160.00       1,392.00
             Reviewing final fee application in bankruptcy case.
09-07-2023   UI                  L520 - Appellate Briefs                                       2.30     485.00     1,115.50
             Researching caselaw re bases for reversal pertaining to exceptions to dismissal under 1112(b)(2).
09-07-2023   RSM                 B160 - Fee/Employment Application                             0.30     860.00       258.00
             Correspondence with colleagues re final fee application.
09-07-2023   RSM                 B160 - Fee/Employment Application                             0.30     860.00       258.00
             Correspondence with co-counsel re final fee applications.
09-07-2023   RSM                 B160 - Fee/Employment Application                             0.10     860.00         86.00
             Confer with R. Aguirre re final fee application work.
09-07-2023   RSM                 B160 - Fee/Employment Application                             0.90     860.00       774.00
             Further revised draft final fee application.
09-07-2023   RSM                 B160 - Fee/Employment Application                             0.10     860.00         86.00
             Reviewed J. Massey revisions to draft final fee application.
09-07-2023   JSM                 B160 - Fee/Employment Application                             0.90 1,160.00       1,044.00
             Revising final fee application in bankruptcy case.
09-08-2023   JSM                 L520 - Appellate Briefs                                       0.30 1,160.00         348.00
             Email communication with TCC counsel regarding LTL statement of issues and designations of record.
09-08-2023   JSM                 L520 - Appellate Briefs                                       0.70 1,160.00         812.00
             Reviewing LTL statement of issues and designations of record.
09-08-2023   JSM                 L520 - Appellate Briefs                                       0.50 1,160.00         580.00
             Analyzing possible additions to LTL statement of issues and designations of record.
09-08-2023   JSM                 L520 - Appellate Briefs                                       0.60 1,160.00         696.00
             Analyzing research regarding legal authority for TCC continuation in response to LTL statement of issues.
09-08-2023   JSM                 L520 - Appellate Briefs                                       0.40 1,160.00         464.00
             Email communication with TCC counsel re possible appellate arguments in response to LTL statement of
             issues.
09-08-2023   RSM                 B160 - Fee/Employment Application                             0.20     860.00       172.00
             Correspondence with colleagues re final fee application.
09-08-2023   RSM                 B160 - Fee/Employment Application                             0.30     860.00       258.00
             Further revised final fee application.
09-08-2023   RSM                 B160 - Fee/Employment Application                             0.40     860.00       344.00
             Correspondence with co-counsel re final fee applications.
09-08-2023   RSM                 B160 - Fee/Employment Application                             0.70     860.00       602.00
             Worked on ensuring Committee’s ability to review and approve all counsels’ final fee applications.
09-08-2023   RSM                 B160 - Fee/Employment Application                             0.40     860.00       344.00
             Worked on monthly fee statement for August 12-31 services.
09-08-2023   JSM                 B160 - Fee/Employment Application                             0.60 1,160.00         696.00
             Reviewing final fee application in bankruptcy case.
09-08-2023   RA                  B160 - Fee/Employment Application                             1.30     320.00       416.00
             Finalize Final Fee Application and exhibits.
09-08-2023   RA                  B160 - Fee/Employment Application                             1.80     320.00       576.00
             Assemble all TCC monthly/final fee applications and add to FTP for all counsel.
09-09-2023   RSM                 B160 - Fee/Employment Application                             0.10     860.00         86.00
             Reviewed J. Massey comments on August 12-31 fee statement.
09-11-2023   UI                  L520 - Appellate Briefs                                       1.10     485.00       533.50

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   Case 23-12825-MBK            Doc 1526-2 Filed 10/19/23 Entered 10/19/23 12:08:37                              Desc
Date         Professional      Task     Exhibit A Page 4 of 8         Hours    Rate                                 Amount
             Meeting with M. Layden re preparing designations of record for Third Circuit appeal.
09-11-2023   UI                  L520 - Appellate Briefs                                       0.70   485.00          339.50
             Preparing list of designations of record for Third Circuit appeal.
09-11-2023   ML                  L520 - Appellate Briefs                                       1.10   500.00          550.00
             Meeting with U. Ibrahim re preparing designations of record for Third Circuit appeal.
09-11-2023   ML                  L520 - Appellate Briefs                                       4.20   500.00        2,100.00
             Researching legal argument in preparation for Third Circuit appeal.
09-12-2023   ML                  L520 - Appellate Briefs                                       3.20   500.00        1,600.00
             Preparing counter-designation of record for Third Circuit Appeal.
09-12-2023   ML                  L520 - Appellate Briefs                                       0.50   500.00          250.00
             Meeting with U. Ibrahim re preparing designations of record for Third Circuit appeal.
09-12-2023   JSM                 L520 - Appellate Briefs                                       0.20 1,160.00          232.00
             Email communication with TCC counsel regarding CA3 timetable.
09-12-2023   RSM                 B160 - Fee/Employment Application                             0.10   860.00           86.00
             Correspondence with colleagues re UST request re final fee application.
09-12-2023   RSM                 B160 - Fee/Employment Application                             0.10   860.00           86.00
             Correspondence with UST re request re final fee application.
09-12-2023   JSM                 L520 - Appellate Briefs                                       2.80 1,160.00        3,248.00
             Reviewing additional designations of record for Rule 8009 submission.
09-12-2023   BV                  L520 - Appellate Briefs                                       0.60   775.00          465.00
             Analyzing draft response to Ad Hoc Committee's Motion for Leave to Appeal and accompanying
             correspondence from co-counsel.
09-12-2023   BV                  L520 - Appellate Briefs                                       0.30   775.00          232.50
             Discussing research topics stemming from LTL's designation of issues with J. Massey.
09-12-2023   UI                  L520 - Appellate Briefs                                       0.50   485.00          242.50
             Meeting with M. Layden re preparing designations of record for Third Circuit appeal.
09-13-2023   UI                  L520 - Appellate Briefs                                       4.80   485.00        2,328.00
             Drafting designations of record for Third Circuit appeal.
09-13-2023   UI                  L520 - Appellate Briefs                                       0.40   485.00          194.00
             Meeting with committee and co-counsel to discuss forthcoming legal strategy re possible Third Circuit appeal.
09-13-2023   BV                  L520 - Appellate Briefs                                       0.30   775.00          232.50
             Meeting with committee members re appeal status and strategy.
09-13-2023   JSM                 L520 - Appellate Briefs                                       3.40 1,160.00        3,944.00
             Reviewing additional designations of record for Rule 8009 submission.
09-13-2023   RSM                 L520 - Appellate Briefs                                       0.30   860.00          258.00
             Conference with co-counsel and committee representatives re next steps for appeal.
09-13-2023   RSM                 B160 - Fee/Employment Application                             0.10   860.00           86.00
             Reviewed draft monthly fee statement for August 12-31 services.
09-13-2023   UI                  L520 - Appellate Briefs                                       0.40   485.00          194.00
             Meeting with M. Layden re preparing designations of record for Third Circuit appeal.
09-13-2023   JSM                 L520 - Appellate Briefs                                       0.40 1,160.00          464.00
             Zoom with TCC representatives and members to discuss appeal, strategy, and next steps.
09-13-2023   JSM                 L520 - Appellate Briefs                                       1.10 1,160.00        1,276.00
             Revising counterstatement of issues on appeal.
09-13-2023   ML                  L520 - Appellate Briefs                                       0.40   500.00          200.00
             Meeting with U. Ibrahim re preparing designations of record for Third Circuit appeal.
09-13-2023   ML                  L520 - Appellate Briefs                                       0.40   500.00          200.00
             Attending weekly committee meeting discussing appellate issues.
09-13-2023   ML                  L520 - Appellate Briefs                                       4.70   500.00        2,350.00
             Preparing counter-designation of record for Third Circuit Appeal.
09-13-2023   RA                  B160 - Fee/Employment Application                             1.20   320.00          384.00
             Draft M&G's First Post Dismissal Monthly Fee Application.
09-13-2023   RA                  B160 - Fee/Employment Application                             0.20   320.00           64.00

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   Case 23-12825-MBK             Doc 1526-2 Filed 10/19/23 Entered 10/19/23 12:08:37                              Desc
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             Finalize M&G's August 12-21, 2023 First Post Dismissal Monthly Fee Application for filing.
09-14-2023   RA                  B160 - Fee/Employment Application                              0.60    320.00         192.00
             Revised M&G's First Post Dismissal Monthly Fee Application.
09-14-2023   ML                  L520 - Appellate Briefs                                        8.30    500.00      4,150.00
             Preparing counter-designation of record for Third Circuit Appeal.
09-14-2023   JSM                 L520 - Appellate Briefs                                        4.30 1,160.00       4,988.00
             Reviewing additional designations of record for Rule 8009 submission.
09-14-2023   JSM                 L520 - Appellate Briefs                                        0.60 1,160.00          696.00
             Email communication with TCC counsel regarding the need for a court order under Bankruptcy Rule 8006(c).
09-14-2023   UI                  L520 - Appellate Briefs                                        8.30    485.00      4,025.50
             Drafting designations of record for Third Circuit appeal.
09-15-2023   UI                  L520 - Appellate Briefs                                        2.30    485.00      1,115.50
             Drafting designations of record for Third Circuit appeal.
09-15-2023   JSM                 L520 - Appellate Briefs                                        3.40 1,160.00       3,944.00
             Reviewing additional designations of record for Rule 8009 submission.
09-15-2023   RSM                 L520 - Appellate Briefs                                        0.10    860.00          86.00
             Reviewed draft counterstatement of issues on appeal and related correspondence with co-counsel and
             committee representatives.
09-15-2023   JSM                 L520 - Appellate Briefs                                        0.50 1,160.00          580.00
             Revising counterstatement of issues on appeal.
09-15-2023   ML                  L520 - Appellate Briefs                                        6.40    500.00      3,200.00
             Preparing counter-designation of record for Third Circuit Appeal.
09-15-2023   RA                  B160 - Fee/Employment Application                              0.20    320.00          64.00
             Revise M&G's August 12-31, 2023 First Post Dismissal Monthly Fee Application for filing.
09-15-2023   ML                  L520 - Appellate Briefs                                        1.40    500.00         700.00
             Preparing draft statement of issues on appeal and counter-designation of record for Third Circuit Appeal.
09-18-2023   JSM                 L520 - Appellate Briefs                                        0.30 1,160.00          348.00
             Reviewing debtor's proposed order re certification of direct appeal to CA3.
09-18-2023   ML                  L520 - Appellate Briefs                                        6.70    500.00      3,350.00
             Preparing counter-designation of record for Third Circuit Appeal.
09-18-2023   JSM                 L520 - Appellate Briefs                                        2.80 1,160.00       3,248.00
             Revising counterstatement of issues and additional designations of record for appeal.
09-18-2023   UI                  L520 - Appellate Briefs                                        1.10    485.00         533.50
             Drafting designations of record for Third Circuit appeal.
09-19-2023   JSM                 L520 - Appellate Briefs                                        2.20 1,160.00       2,552.00
             Revising counterstatement of issues and additional designations of record for appeal.
09-19-2023   ML                  L520 - Appellate Briefs                                        2.80    500.00      1,400.00
             Preparing counter-designation of record for Third Circuit Appeal.
09-19-2023   UI                  L520 - Appellate Briefs                                        2.80    485.00      1,358.00
             Drafting designations of record for Third Circuit appeal.
09-19-2023   BV                  L520 - Appellate Briefs                                        0.80    775.00         620.00
             Reviewing statement of issues on appeals and counter designations (0.6); reviewing legal research by U.
             Ibrahim (0.2).
09-19-2023   UI                  L520 - Appellate Briefs                                        2.30    485.00      1,115.50
             Reviewing Saul E. Burian's reports to identify appellate arguments as to LTL's bad faith for the affirmation of
             dismissal.
09-19-2023   JSM                 L520 - Appellate Briefs                                        0.20 1,160.00          232.00
             Reviewing debtor's proposed order re certification of direct appeal to CA3.
09-19-2023   JSM                 L520 - Appellate Briefs                                        0.20 1,160.00          232.00
             Reviewing AHC filing as to statement of issues and designations of record.
09-19-2023   JSM                 L520 - Appellate Briefs                                        0.30 1,160.00          348.00
             Teleconference with M Winograd re debtor's proposed order regarding certification of appeal to CA3.
09-19-2023   ML                  L520 - Appellate Briefs                                        2.40    500.00      1,200.00
             Analyzing In Re Bestwall, Inc. Fourth Circuit opinion for use in appellate arguments.
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Date         Professional      Task     Exhibit A Page 6 of 8         Hours    Rate                                 Amount
09-20-2023   ML                 L520 - Appellate Briefs                                        2.90      500.00     1,450.00
             Researching legal argument in preparation for Third Circuit appeal.
09-20-2023   JSM                L520 - Appellate Briefs                                        0.20 1,160.00          232.00
             Teleconference with Ericka Johnson (Ad Hoc Committee of States) re counterstatement of issues and
             designations of record for appeal.
09-20-2023   JSM                L520 - Appellate Briefs                                        0.30 1,160.00          348.00
             Email communication with TCC counsel and representatives re counterstatement of issues and designations of
             record for appeal.
09-20-2023   JSM                L520 - Appellate Briefs                                        0.50 1,160.00          580.00
             Zoom with TCC members and representatives regarding appeal and next steps.
09-20-2023   UI                 L520 - Appellate Briefs                                        1.20      485.00       582.00
             Reviewing Saul E. Burian's reports to identify appellate arguments as to LTL's bad faith for the affirmation of
             dismissal.
09-20-2023   UI                 L520 - Appellate Briefs                                        0.80      485.00       388.00
             Drafting designations of record for Third Circuit appeal.
09-20-2023   UI                 L520 - Appellate Briefs                                        0.20      485.00        97.00
             Meeting with J. Massey and M. Layden re legal questions re the continued existence of the TCC.
09-20-2023   UI                 L520 - Appellate Briefs                                        1.70      485.00       824.50
             Meeting with M. Layden re legal questions re the continued existence of the TCC.
09-20-2023   UI                 L520 - Appellate Briefs                                        1.20      485.00       582.00
             Research whether bankruptcy courts have the authority to review the continued existence of the TCC.
09-20-2023   UI                 L520 - Appellate Briefs                                        0.60      485.00       291.00
             Meeting with committee and co-counsel to discuss forthcoming legal strategy re possible Third Circuit appeal.
09-20-2023   BV                 L520 - Appellate Briefs                                        0.60      775.00       465.00
             Meeting with committee members re appeal status and strategy.
09-20-2023   ML                 L520 - Appellate Briefs                                        0.60      500.00       300.00
             Attending weekly committee meeting discussing appellate issues.
09-20-2023   JSM                L520 - Appellate Briefs                                        1.40 1,160.00        1,624.00
             Revising counterstatement of issues and additional designations of record for appeal.
09-20-2023   RSM                L520 - Appellate Briefs                                        0.60      860.00       516.00
             Conference with committee representatives and co-counsel re appellate progress and strategy.
09-21-2023   UI                 L520 - Appellate Briefs                                        0.60      485.00       291.00
             Research whether bankruptcy courts have the authority to review the continued existence of the TCC.
09-21-2023   UI                 L520 - Appellate Briefs                                        0.90      485.00       436.50
             Drafting designations of record for Third Circuit appeal.
09-21-2023   JSM                L520 - Appellate Briefs                                        0.60 1,160.00          696.00
             Revising counterstatement of issues and additional designations of record for appeal.
09-21-2023   JSM                L520 - Appellate Briefs                                        4.30 1,160.00        4,988.00
             Revising draft response to LTL's expected CA3 petition for leave to appeal.
09-21-2023   UI                 L520 - Appellate Briefs                                        3.20      485.00     1,552.00
             Research the statutory scope of a bankruptcy court's authority.
09-21-2023   ML                 L520 - Appellate Briefs                                        2.30      500.00     1,150.00
             Reviewing counter-designation and statement of issues before filing.
09-22-2023   UI                 L520 - Appellate Briefs                                        1.70      485.00       824.50
             Research whether Article I courts have the authority to review the continued existence of the TCC.
09-25-2023   UI                 L520 - Appellate Briefs                                        2.30      485.00     1,115.50
             Research whether bankruptcy courts have the authority to review the continued existence of the TCC.
09-25-2023   JSM                B170 - Fee/Employment Objections                               0.30 1,160.00          348.00
             Reviewing bankruptcy court ruling on substantial contribution issues.
09-25-2023   JSM                L520 - Appellate Briefs                                        1.70 1,160.00        1,972.00
             Reviewing summary of Senate Judicial Committee hearing.
09-25-2023   JSM                L520 - Appellate Briefs                                        1.30 1,160.00        1,508.00
             Reviewing statements of issues and counter-designation of record by appellees in appeal of motion to dismiss
             order.
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   Case 23-12825-MBK             Doc 1526-2 Filed 10/19/23 Entered 10/19/23 12:08:37                                 Desc
Date         Professional       Task     Exhibit A Page 7 of 8         Hours    Rate                                    Amount
09-25-2023   ML                   L520 - Appellate Briefs                                          4.70     500.00      2,350.00
             Researching regarding the power of the bankruptcy court to maintain the TCC into an appeal after the petition
             has been dismissed.
09-26-2023   JSM                  L520 - Appellate Briefs                                          2.40 1,160.00        2,784.00
             Reviewing researching on bankruptcy court's authority to provide for TCC's continued existence post-dismissal.
09-26-2023   ML                   L520 - Appellate Briefs                                          3.60     500.00      1,800.00
             Researching legal issues associated with the continued existence of the TCC after the dismissal of the
             bankruptcy petition.
09-26-2023   ML                   L520 - Appellate Briefs                                          0.70     500.00        350.00
             Analyzing the bankruptcy court's letter order regarding substantial contribution for language regarding the
             purpose of the TCC.
09-26-2023   JSM                  L520 - Appellate Briefs                                          0.50 1,160.00          580.00
             Reviewing tentative post-trial ruling in Valadez case, 22CV012759.
09-26-2023   UI                   L520 - Appellate Briefs                                          3.10     485.00      1,503.50
             Research whether bankruptcy courts have the authority to review the continued existence of the TCC.
09-26-2023   UI                   L520 - Appellate Briefs                                          1.50     485.00        727.50
             Meeting with M. Layden re legal questions re the continued existence of the TCC.
09-27-2023   UI                   L520 - Appellate Briefs                                          4.20     485.00      2,037.00
             Research whether bankruptcy courts have the authority to review the continued existence of the TCC.
09-27-2023   BV                   L520 - Appellate Briefs                                          0.40     775.00        310.00
             Meeting with committee members re appeal status and strategy.
09-27-2023   JSM                  L520 - Appellate Briefs                                          0.50 1,160.00          580.00
             Zoom with TCC members and representatives to discuss appeal and next steps.
09-27-2023   JSM                  L520 - Appellate Briefs                                          0.50 1,160.00          580.00
             Reviewing rules and requirements for filing in Third Circuit with respect to petition for leave to appeal.
09-27-2023   JSM                  L520 - Appellate Briefs                                          0.30 1,160.00          348.00
             Email communication with TCC appellate counsel re response to LTL petition for leave to appeal in Third
             Circuit.
09-27-2023   JSM                  L520 - Appellate Briefs                                          0.30 1,160.00          348.00
             Email communication with co-appellees re response to LTL petition for leave to appeal in Third Circuit.
09-27-2023   JSM                  L520 - Appellate Briefs                                          0.30 1,160.00          348.00
             Email communication with TCC counsel re petition for leave to appeal in CA3.
09-27-2023   ML                   L520 - Appellate Briefs                                          0.50     500.00        250.00
             Attending weekly committee meeting.
09-27-2023   ML                   L520 - Appellate Briefs                                          2.90     500.00      1,450.00
             Researching legal precedent regarding the power of the bankruptcy court to maintain the TCC into an appeal
             after the petition has been dismissed.
09-27-2023   JSM                  L520 - Appellate Briefs                                          0.30 1,160.00          348.00
             Email communication with TCC counsel re CA3 schedule.
09-27-2023   JSM                  L520 - Appellate Briefs                                          0.30 1,160.00          348.00
             Email communication with counsel for co-appellees re CA3 schedule.
09-27-2023   RSM                  L520 - Appellate Briefs                                          0.40     860.00        344.00
             Conference with committee members, representatives, and co-counsel re appeal strategy and next steps.
09-28-2023   ML                   L520 - Appellate Briefs                                          3.10     500.00      1,550.00
             Researching legal precedent regarding the power of the bankruptcy court to maintain the TCC into an appeal
             after the petition has been dismissed.
09-28-2023   ML                   L520 - Appellate Briefs                                          0.90     500.00        450.00
             Reviewing research memorandum regarding the continued existence of the TCC post-dismissal.
09-28-2023   ML                   L520 - Appellate Briefs                                          1.90     500.00        950.00
             Researching legal issues regarding the propriety of raising new legal arguments in a subsequent appeal.
09-28-2023   JSM                  L520 - Appellate Briefs                                          1.90 1,160.00        2,204.00
             Reviewing researching on bankruptcy court's authority to provide for TCC's continued existence post-dismissal.
09-28-2023   JSM                  L520 - Appellate Briefs                                          2.20 1,160.00        2,552.00
             Drafting outline of argument re bankruptcy court's authority to provide for TCC's continued existence post-

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               dismissal.
09-28-2023     UI                L520 - Appellate Briefs                                          0.60    485.00        291.00
               Meeting with M. Layden re legal questions re the continued existence of the TCC.
09-28-2023     UI                L520 - Appellate Briefs                                          3.20    485.00      1,552.00
               Research whether bankruptcy courts have the authority to review the continued existence of the TCC.
09-29-2023     UI                L520 - Appellate Briefs                                          2.30    485.00      1,115.50
               Reviewing Saul E. Burian's reports to identify appellate arguments as to LTL's bad faith for the affirmation of
               dismissal.
09-29-2023     JSM               L520 - Appellate Briefs                                          0.30 1,160.00         348.00
               Reviewing LTL draft letter to stay district court appeals cases (docket nos. 23-10979 and 23-17597).
09-29-2023     JSM               L520 - Appellate Briefs                                          0.20 1,160.00         232.00
               Email communication with TCC counsel re LTL draft letter to stay district court appeals cases (docket nos.
               23-10979 and 23-17597).
09-29-2023     ML                L520 - Appellate Briefs                                          4.30    500.00      2,150.00
               Researching legal issues associated with raising new legal arguments in a subsequent appeal.
09-29-2023     RSM               B170 - Fee/Employment Objections                                 0.20    860.00        172.00
               Reviewed LTL’s objection to Massey & Gail appellate work.
09-29-2023     RSM               B170 - Fee/Employment Objections                                 0.30    860.00        258.00
               Analyzed issues re LTL’s objection to Massey & Gail appellate work.
09-29-2023     RSM               B170 - Fee/Employment Objections                                 0.20    860.00        172.00
               Correspondence with colleagues re responding to LTL’s objection to Massey & Gail appellate work.
09-29-2023     JSM               B170 - Fee/Employment Objections                                 0.80 1,160.00         928.00
               Reviewing LTL objection to M&G fee application.
09-29-2023     JSM               B170 - Fee/Employment Objections                                 0.50 1,160.00         580.00
               Email communication with M&G team re LTL objection to M&G fee application.
09-29-2023     RA                B170 - Fee/Employment Objections                                 0.60    320.00        192.00
               Assemble various monthly fee applications in preparation of our response to LTL's objection to our CA3
               appellate work.
09-30-2023     JSM               B170 - Fee/Employment Objections                                 0.70 1,160.00         812.00
               Reviewing M&G retention application and fee applications in connection with LTL objection to M&G fee
               application.
                                                                                                 Total              141,996.00

Time Summary
Professional                                                                                          Hours           Amount
Bret Vallacher                                                                                          3.60          2,790.00
Jonathan Massey                                                                                        52.10         60,436.00
Larry Goldman                                                                                           0.50             45.00
Matthew Layden                                                                                         70.90         35,450.00
Rachel Morse                                                                                            9.80          8,428.00
Rob Aguirre                                                                                            12.20          3,904.00
Usama Ibrahim                                                                                          63.80         30,943.00
                                                                                              Total                 141,996.00



                                                                                    Total for this Invoice          141,996.00




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